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                 IiMTED STATES DISTRICT COURT
              MIDDLE DISTRICT OF PENNSIT.VANIA

UNITED STATES OF AMERICA                No.3:23'CR-26

                                        (Judse MANMON)

MERCEDES SMITH,                         (etectronically filed)
                        Defendant.

                          PLEAAGREEMENI

     The following Plea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall nean the OfEce of the United

States Attorney for the Middle District of Pennsylvania.

A. Violation(s). Penaltiog. arod Diemiseal of Other Counte

    1. Guilty plea. The tlefentlant agrees to plead. guilty to Count 1 of
       the Inilictment, which charges the defendant with a violation of

       Title 21, United States Code, g 8a6(a), Conspiracy to Distribute

        Controlled Substances. The maximum penalty for that offense          I

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        is imprisonrnent for a period of 20 years, a fine of $1,000,000, a
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        maximum term of Bupervised release of life but a minimum of at

       least 3 years, which shall be served at the conclusion of, and in     I
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    addition to, any term of imprison:nent, as well as the costs of

    prosecution, imprisonment, probation, or supervised release

    ordered, d.enial of certain federal benefits, and an aggeesment in

    the amount of $100. At the time the guilty plea is entered, the

    defendant shall admit to the Court that the defentlant is, in fact,

    guilty of the offense(s) charged in that count. After sentenci-ng,

    the United States will move for dismissal of any remaining

    counts of the Indictment, The defendant agrees, however, that

    the United States may, at its sole election, reinstate any

    dismissed charges, or seek additional charges, in the event that

    any guilty plea entered or sentence inposed pursuant to this

    Agreement is subsequently vacated, set aside, or invalidated by

    any court. The defendant further agrees to waive any defenses

    to reinstatement of any charges, or to the filing of additional

    charges, based upon laches, the assertion of speedy trial rights,

    any applicable statute of limitations, or any other ground. The

    calculation of time under the Speedy Trial Act for when trial

    must commence is tolled as of the date of the defendant's
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      signing of this Agreement, until either (a) the defendant pleads

      guilty; or (b) a new date is set by the Court for commencement

      of trial.

  2. Term of Suporvised Release. The defendant uuderstands that
      the Court must impose at least a 3-year term of supervised

      release but up to a lifetime of supervised release in addition to

      any term of imprisonment, fine or assessment involving this

      violation of the Controlled Substances Act, The defendant also

      understands that the Court may irnpose a term of supervised

      release following any sentence of imprisonment exceeding one

      year, or when required by statute. The Court may require a

      term of supervised release in any other case. In addition, the

      defendant understands that as a condition of any term of

      supervised reloase or probation, the Court must ord.er that the

      defendant cooperate i.n the collection of a DNA sample if the

      collection of a sample is so authorizeil by law.

   3. Maximum Sentence. The defendantunderstands that the total,
      maximum possible sentence for all charges is the combination of
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       penalties described abovei that is, 20 years in prison, fines

       totaling $1,000,000, a maximum lifetime of supervised release

       but at least 3 years, the costs of prosecution, denial of certain

       federal benefits and an assessment totaling 9100.

   4. No Furthe r Prosecution. Exceot Tax Charges . The United
       States Attorney's Office for the Middle Dietrict of Pennsylvania

       agrees that it will not briug any other criminal charges against

       the tlefendant directly arising out of the defendant's

       involvement in the offense(s) describetl above. However,

       nothing in this Agreement will limit prosecution for criminal tax

       charges, if any, arising out of those offenges.

B. Fines and Aseessments
   5. Fine. The defendant understands that the Cowt may impose a
      fine pursuant to the Sentencing Reform Act of 1g84, The willful

      failure to pay any fine imposed by the Court, in full, may be

      considered a breach of this Plea Agreement. Further, the

      defendant acknowledges that willful failure to pay the fine may

      subject the defendatt to additional criminal violations and civil
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      penalties pursutrnt to Title 18, United States Code, $ 3611, et

      seq

  6                        s                IIAIn   If the Court orders a

      fine or restitution as part of the defendant s oentence, and the

      sentence includes a term of imprisonment, the defendant agrees

      to voluntarily enter the Uniteil States Bureau of Prisons-

      administered program known as the Inmate Financial

      Responsibility Program, through which the Bureau of Prisons

      will collect up to 50% ofthe defendant's prison salary, and up to

      50% of the balance of the defendant's inmate account, and apply

      that amount on the defendant's behalf to the payment of the

      outstanding fine and restitution orders.

   7. Special Aesesgment, The defendant understands that the Court
      will impose a special assesgment of $100, pursuant to the
      provisions of fitle 18, United States Coale, S 3013. No later

      than the date of sentencing, the defendant or defendant's

      counsel shall mail a check in payment of the special assessment

      directly to the Clerk, United States District Court, Middle
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     District of Pennsylvania. If the defendant intentionally fails to

     make this payment, that failure may be treated as a breach of

     this PIea Agreement and may result in further prosecution, the

    filing of additional criminal charges, or a contempt citation.

 8. Collection of       cial Oblieations . In order to facilitate the

    collection of financial obligations imposed in connection with

    this case, the d.efendant consents and agrees:

    a. to fully disclose all assets in which the defendant has an
        interest or over which the defendant has control, tlirectly or

        intlirectly, including those held by a spouse, nominee, or

        other third partyi

    b. to submit to interviews by the Government regarding the
        defendant's filancial statusi

    c. to submit a complete, accurate, and truthful finaneial
        statement, on the form provided by the Government, to the

        United States Attorney's Office no later than 14 days

        following entry of the guilty plea;


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       d. whether represented by counsel or not, to consent to contact
          by and communication with the Government, and to waive

          any prohibition against commr:nication with a represented

          party by the Government regarding the defendant's

          financial statusi

       e. to authorize the Government to obtain the defendant's
          credit reports in order to evaluate the defendanf,s ability to

           satisfu any financial obligations imposed by the Courti and

       f. to submit any financial information requested by the
           Probation Of&ce as directed, and to the sharing of financial

           information between the Government antl the Probation

           Office.

C. Sentencine Guirlelines Caleulation
   9                                              The defendant and

       counsel for both parties agree that the Uniteil States Sentencing

       Commission Guidelines, which took effect on November 1, 1987,

       and its amendments (the "sentencing Guidelines'), will apply to

       the offense or offenses to which the defendant is pleafing guilty.
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       The defendant uaderstands that the Sentencing Guidelines are

       advisory and not binding on the Court. The defendant further

       agrees that any legal and factual issues relating to the

       application of the Sentencing Guidelines to the defendant's

       conduct, including facts to support any specific offense

       characteristic or other enhancement or adjustment and the

       appropriate sentence within the statutory m.aximums provided

       for by law, wi.ll be determined by the Court slilsy grisfing, a pre'

       sentence hearing, or a sentencing hearing.

 1   0. Acceptance of Responsibilitv- Two/Three Levels. If the

       defendant can adequately demonstrate recognition and

       affirmative acceptance of responsibfity to the Government as

       required by the Sentencing Guidelines, the Government will

       recommend that the defendant receive a two- or three-level

       reduction in the defendant's offense level for acceptance of

       responsibfity. The third level, if applicable, ehall be within the

       discretion of the Government under U.S.S.G. $ 3E1.1. The


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     failure of the Court to find that the defendant is entitled to a   I




      red.uction shall not be a basis to void this Agreement.

  11. Specific Sentencine Guidelines Recommendations. With re spect

      to the application of the Sentencing Guidelines to the

      defendant's conduct, the parties agree to recommend as follows:

         a. For purtr oEeE of the U.S.S.G., the parties agree
            that the defendant ie responsible for the
            distribution of, aud posseesion with intent to
            tlistribute, at leaet 400 grams but less than 1.2
             kilogtame grams of fentanyl, a Schedule II
             controlled subetance.

      Each party reserves the right to make whatevev remaining

      arguments it deems appropriate with regard to application of

      the United States Sentencing Commission Guidelines to the

      defendanf,e conduct. The defentlant understands that any

      recommendations are not binding upon either the Court or the

      United States Probation Office, which may make di.fferent

      findings as to the application of the Sentencing Guiclelines to

      the defenda-nt's conduct. The defendant further understands

      that the United States will provide the Court and the United

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        States Probation Office all information in its possession that it

        deems relevant to the application of the Sentencing Guiclelires

        to the defendant's conduct.

  ),2. Appropriate Sentence Recommendation.        At the time of
        sentencing, the United States may make a recommendation

        that it considers appropriate based upon the nature and

        circumstances of the case aud the defendant'e participation in

        the offense, and specifically reserves the right to recommend a

        sentence up to and including the maximum sentence of

        imprisonment and fine allowable, together with the cost of

        prosecution.

 1tf.   Sneci   Con     ons of Prob atio nlSunervised Release.   If
        probation or a term of supervised release is ordered, the United

        States may recommend that the Court impose one or more

        special conditions, ircluding but not limited to the following:

        a. The defendant be prohibited from possessing a firearm or
           other dangerous weapon.



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      b. The defendant make restitution, if applicable, the payment
           of which shall be in accordance with a schedule to be

           determined by the Court.

      c.   The defendant pay any fine imposed in accordance with a

           schedule to be determined by the Court.

      d. The defendant be prohibited from incurring new credit
           charges or opening additional lines of credit without

           approval ofthe Probation Office unless the defendant is in

           compliance with the payment schedule.

      e    The defendant be directed to provide the Probation Office

           and the United States Attorney access to any requested

           financial information.

      f.   The defendant be confined in a community treatment

           center, halfiray house, or similar facility.

       C. The defendant be placed under home confinement.
      h. The defendant be ordered to perform community service.



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     1.   The defendant be restricted from working in certain types of

          oceupations or with certain individuals if the Government

          deems such restrictions to be appropriate.

     j, The defentlant be directed to attend substance abuse
          counseling, which may include testing to determine whether

          the defendant is using drugs or alcohol.

     k. The defendant be directed to attend. psychiatric or
          psychological counseling and treatment in a program

          approved by the Probation Officer.

     l. The defendant be denied certain federal benefits including
          contracts, gralts, loans, fellowships, and licenses.

     m. The defendant be directed to pay any state or federal taxes
          and file any and all state and fe deral tax returns as

          required by law,

 14. Destruction Order/![aivers. The defendant further agrees,

     should the United States deem it appropriate to the destruction

     of the items seized during the course of the investigation. The

     defendant agrces that the items may be destroyed by the
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      investigative agency with or without a court order authorizi:rg

      the destruction of the items seized. If the United States

      determines that a destruction order should be obtained, the

      ilefendant and defendant's counsel hereby concur in a motion for

      such an order. The defendant further agrees to waive all

      interest in the assets in any administrative or judicial forfeiture

      proceeding, whether criminal or civil, state, or federal. The

      defendant consents and waives all rights to compliance by the

      United States with any applicable deadlines under 18 U.S.C. $

       98S(a). Any related adminigtrative claim filed by the ilefendant

       is hereby withdrawn. The defendant agrees to consent to the

       entry of orders of fodeiture for such property and waives the

       requirements of Federal Ruleg of Criminal Procedure 32.2 ar,d,

       43(a) regartling uotice ofthe forfeiture in the charging

       instrument, announcement of the forfeiture at sentencing, and

       incorporation of forfeiture in the judgment.




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D. Vistimg' Riehts anal Reetitution
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    15. Victims'Riehts. The defendant understands that pursuant to

       the Victim and Witness Protection Act, the Crime Victims'

       Rights Act, the Justice for All Act, and the regulations

       promulgated under those Acts by the Attorney General of the

       United States, crime victims have the following rights:

       a. The right to be reasonably protected from the accused;
       b. The right to reasonable, accuxate, and timely notice of any
           public court proceeding or any parole proceeding involving

           the crime, or of any release or escape ofthe accusedi

       c. The right not to be excluded from any such public court
           proceefing, unless the Court, after receiving clear and

           convincing evidence, determines that testimony by the

           victim would be altered materially if the victim heard other

           testimony at that proceedingi

       d. The right to be reasonably heard at any public hearing i:r
          the Court involvi-ng release, plea, sentencing, or any parole

          proceeding. ?he defendant understands that the victims,
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          comments and recommendations at any of these proceedings

          may be different than those of the parties to this

          Agreementi

      e   The reasonable right to confer with the attorney for the

          Government in the case. The defendant understands that

          the victims' opinions and recommendations given to the

          attorney for the Government may be different than those

          presented by the United States as a consequence of this

          Agreementi

       f. The right to full and timely restitution as provided for by
           law. The attorney for the Government is requted to "fuIly

           advocate the rights of victims on tho issue of restitution

           unless such advocacy would unduly prolong or complicate

           the sentencing proceeding," and the Court is authorized to

           order restitution by the defendant including, but not limited

           to, restitution for property loss, economic loss, personal

           injury, or deathi

       g. The right to proceedings free from unreasonable delayi and
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     h. The right to be treated with fairness and with respect for
         the victim's dignity and privacy.

  16. Restitution. The defendant acknowledges that, pursuant to the

     Mandatory Restitution Act of April 24, 1996, Title 18, United

     States Cotle, $ 3663A, the Court is required in all instances to

     order full restitution to all victims for the losses those victims

     have su-ffered as a result of the defendant's conduct. The

     defondant also agrees that the Government will seek, and the

     Court may irnf ose an order of restitution as to victims of the

     defendant's relevant conduct. With respect to the payment of

     restitution, the defendant further agrees that, as part of the

     sentence in this matter, the defendant shall be responsible for

     makiag payment of restitution in full, unless the defendant can

     demonstrate to the satisfaction of the Court that the defendant,s

     economic circumstances do not allow for the payment of full

     restitution in the foreseeable future, in which case the

     defendant will be required to make partial restitution

    payments. In addition to the schedu-le of payments that may be
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      established by the Court, the defendant understands and agreee

      that, pursuant to the Mandatory Victims Restitution Act of

       1996 and the Justice For AllAct of,2004, victims of federal

      crimes are entitlecl to full anil timely restitution. As such, these

       payments ilo not preclutle the Government from using other

       assets ol income of the defenilant to satieff the restitution

       obligatiou. The defendant undergtands and agrees that the

       United States Attorney's Office, by and through the Financial

       Litigation Unit, has the obligation and the right to pursue any

       legal means, including but not limitetl to, submission of the debt

       to the Treasury Offset Program, to collect the full amount of

       restitution owed to the victims in a timely faehion. Although

       the defendant may reserve the right to contest the amount of

       reetitution owed, the defendant agrees to take all steps to

       facilitate collection of all restitution, incluiling submitting to

       debtot's exams as directed by the Government. Towards this

       goal, the defendant agrees to waive any further notice of

       forfeiture and agrees that the United States may, at its sole
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     election, elect to pursue civil or crimiual forfeiture in the

     amount of the victim restitution owed in this case, and the

     Court may enter both a restitution order and a forfeiture

     judgment in the amount of any unpaid restitution found by the

     Court to be due and owhg at the time of sentencing in this

     matter. The defendant consents to the filing of any civil

     complaint or euperseding information which may be necessary

     to perfect a forfeiture order and further stipulates and agrees

     that the defendant s guilty plea constitutes an admission to all

     matters legally antl factually necessary for entry of a forfeiture

     order in thie case. The parties agree that the Government will

     reeommend, but cannot guarantee, that any assets recovered

     through forfeiture proceedings be remitted to crime victime to

     reduce the defendant's restitution obligation in this case. The

     defendant acknowledges that the making of any payments does

     not preclude the Government ftom using other agsets or income

     of the defendant to satis$ the restitution obligation. The

    defendant understands that the amount of restitution
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       caleulated for purposes of Chapter 5 of the Sentencing

       Guidelinee might be di-fferent from the amount of loss calculated

       for purposes of Chapter 2 of the Sentencing Guidelines.

   1?. FulI Restitutiqn by Schedrrle. The defendant a grees to make

       full restitution in accordance with a schedule to be determined

       by the Court.

E. Information Provided to Court and Probation Office
   18. Backeround Informatio n for Probation Office. The defendant

       understands that the United States will provide to the United

       States Probation Office all information in its possession that the

       United States deems relevant regarding the defendant's

       background, character, cooperation, if any, and involvement in

       this or other offenses.

    19. Ob.iections to Pre-Sentence Report, The defendant understands

       that pursuant to the United States District Court for the Middle

       District of Pennsylvania's '?olicy for Guideline Sentencing,"

       both the United States and defenilant must communicate to the

       Probation Officer within 14 days after disclosure of the pre-
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     sentence report any objections they may have as to material

     information, sentencing classifications, applicable Sentencing

     Guidelines ranges, and policy statements contained in or

     omitted from the report. The defendant agrees to meet with the

     United States at least five days prior to aentencing in a good

     faith attempt to resolve any substantive differences. If any

     issues remain unresolved, they shall be communicated to the

     Probation Officer for inclusion in an addendum to the pre-

     senfence report. The defendant agrees that unresolved

     substantive objections will be decided by the Court after

     briefing, a pre-sentence hearing, or at the sentencing hearing,

     where the standard or proof will be a preponderance of the

     evidence, and the Federal Rules of Evidence, other than with

     respect to privileges, shall not apply under Fed. R. Evid.

     1101(d)(3), and the Court may consider any reliable evidence,

     including hearsay. Objections by the defendant to the pre-

     sentence report or the Court's rulings, wilI not be grounds for

     withdrawal of a plea of g.uilty.
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  20. Relevant Sen         fnformation. At sentencin g, the United

      States will be permitted to bring to the Court s attention, and

      the Court will be permitted to consider, all relevant information

      about the defendant's background, character and conduct,

      including the conduct that is the subject of the charges that the

      United States has agreed to dismiss, and the nature and extent

      of the defendant's cooperation, if any. The United States will be

      entitled to bring to the Court's attention and the Court will be

      entitled to consider any failure by the defendant to fulfill any

      obligation under this Agreement.

   21. Non-Limitation on Government's Response. Nothing in this

      Agreement shall restrict or Iimit the nature or content of the

      United States' motions or responses to any motions filed on

      behalf of the defendant. Nor does this Agreemeut in any way

      restrict the Government in responding to any request by the

      Court for briefing, argument or presentation of evidence

      regarding the application of Sentencing Guidelines to the



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       defendant's conduct, including but not lirnited to, requests for

      information concerning possible sentencfur g departures.

F. Court Not Bound bv Plea Aseement
   22. Court Not Bound bv Terms. The defendant unde rstands that

      the Court is not a party to and is not bound by this Agreement,

      or by any recommendations made by the parties. Thus, the

      Court is free to itnpose upon the defendant any sentence up to

      and including the maximum sentence of 20 years in prison, a

      maximum fine of $1,000,000, a maximum term of supervised

      release of life but at least 3 years, which shall be served at the

      conclusion of and in addition to any term of imprisonment, the

      costs of prosecution, denial of certaia federal benefits, and

      assesements totaling $100.

   23. No Withdrawal of PIea Based on Sentence or Recommendations.

      If the Court imposes a sentence with which the defendant is

      dissatisfieil, the defendant will not be permitted to withdraw

      any guilty plea for that reason alone, nor will the defendant be

      permitted to withdraw any guilty plea should the Court decline
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       to follow any recommendations by any of the parties to this

       Agreement,

G. Breach of Plea Agreement bv Defenilant
   24, Breach of Aeleement. In the event the United States believes

       the defendant has failed to fulfill any obligation under this

       Agreement, then the United States shall, in its discretion, have

       the option ofpetitioning the Court to be relieved ofits

       obligations uniler this Agreement. Whether the defendant has

       completely fulfilled all of the obligations under this Agreement

       shall be determined by the Court in an appropriate proceeding,

       during which any disclosures and documents provided by the

       defendant shall be admissible, and duri:rg which the United

       States shall be required to establish any breach by a

       preponderance of the evidence, In order to establish any breach

       by the defendant, the Udted Statee is entitled to rely on

       statements and evidence given by the defentlant during the

       cooperation phase of this Agreement, if any.



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  25. Remedies for Breach. The defendant and the United States

      agree that in the event the Court concludes that the defendant

      has breached the Agreement:

         The defendant will not be permitted to withdraw any guilty

         plea tendered under this Agreement and agrees not to

         petition for withdrawal of any guilty pleai

     b. The United States will be free to make any
         recommendations to the Court regarding sentencing in this

         case,

         Any evidence or statements made by the defendant d.uring

         the cooperation phase of this Agreement, if any, will be

         admissible at any trials or sentencingsi

     d. The United States will be free to bring any other charges it
         has against the defendant, including any charges originally

         brought against the defendant or which may have been

         under investigation at the time of the plea. The defendant

         waives and hereby agrees not to raise any defense to the

         reilstatement of these charges based. upon collateral
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          estoppel, Double Jeopardy, statute of limitations, assertion

          of Speedy Tlial rights, or other sirnilar grounds,

   26. Violation of raw While Plea or Se ntencc Pendine"- The

      defendant understands that it is a condition of this Agreement

      that the defendant refrain from any further violations of state,

      local, or federal law while awaiting plea and sentenci-ng. The

      defendant acknowledges and agrees that ifthe Government

      receives information that the defendant has committed new

      crimes while awaiting plea or sentencing in this case, the

       Government may petition the Court and, if the Court finils by a

      preponderance of the evidence that the defendant has

       cornrnitted any other criminal offense while awaiting plea or

       sentencing, the Government shall be free at its sole election to

       either: (a) withdraw from this Agreementi or (b) make any

       sentencing recommendations to the Court that it deems

       appropriate. The defentlant further understands and agrees

       that, if the Court finds that the defendant has committed any

       other offense while awaiting plea or sentencing, the defendant
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        will not be permitted to withdraw any grilty pleas tendered
        pursuant to this Agreement, and the government will be

        permitted to bring any aalditional charges that it may have

        against the defendant.

H. Depoftatioir
   27. Deportation/Removal from the United States. The defendant

        understands that, if defendant is not a United States citizen,

        deportation/removal from the United States is a consequence of

        this plea. The defendant further agrees that this matter has

        been discussed with counsel who has explained the immigration

        consequences of this plea. The defendant still alesires to enter

        into this plea after having been so advised.

I. ApoealWaiver
   28       e                     The defendant is aware that Title 28,

        United States Code, $ 1291 affords a defendant the right to

        appeal a judgment of conviction and sentencei and that Title 1g,

        United States Code, $ 37A2(a) affords a defendant the right to

        appeal the sentence imposed. Acknowledgiag all of this, the
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       defendant knowingly waives the right to appeal the conviction

       and sentence. This waiver includes any and a1l possible

       grounds for appeal, whether constitutional or non-

       constitutional, including, but not limited to, the manner in

       which that sentence was determined in light of United States v.

       Booker,543 U.S. 220 QOOil. The ilefendant further

       acknowledges that this appeal waiver is binding only upon the

       defend.ant and that the United States retains its right to appeal

       in this case.

J. Other Provieions
   29. Aereement Not Bindire on Other Asencies. Nothing in this

       Agreement shail bind any other United States Attorney's Office,

       state prosecutor's office, or federai, state, or local law

       enforcement agency.

   30. No Civil Claims or Suits. The defendant agrees not to pursue or

       initiate any civil claims or suits against the United States of

       America, its agencies or employees, whether or not presently

       known to the defendant, arising out of the investigation,
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     prosecution or cooperation, if any, covered by this Agreement,

     including but not limited to aqy claims for attorney's fees and

     other litigation expenses arising out of the investigation and

     prosecution ofthis matter. By the defendant's guilty ptea in

     this matter the defendant further acknowledges that the

     Governmenf,s position in this litigation was taken ir good faith,

     had a substantial basis in law and fact and was not vexatious.

  31, Plea Aereement Serves Ends ofJustice . The United States is

     entering this Agreement with the defendant because this

     disposition of the matter fairly and adequately addresses the

     gravity of the offense(s) from which the charge(s) is/are drawn,

     as well as the defendant's role in such offense(s), thereby

     servi:rg the ends of justice.

 32. Mereer of AIL Prior Neeotiations. This tlocument states the

     complete and only Agreement between the United States

     Attorney for the Midtlle District of Pennsylvania and the

     defenclant in this case, and is binding only on the parties to this

     Agreement and supersedes all prior understandings or plea
                                     28
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      offers, whether written or oral. This agreement cannot be

      modified other than in writing that is signed. by all parties or on

      the record in court. No other promises or inducements have

      been or will be made to the defendant in connection with this

      case, nor have any predictions or threats been made in

      connection with this plea. Pursuant to Rule 11 of the Federal

      Rules of Criminal Procedure, the defendant certifies that the

      defentlant's plea is knowing and voluntary and is not the result

      of force or threats or promises apart from those promises set

      forth in this Agreement.

   33. Defendant is Satisfied    th Assistance of Counsel. The

      Defendant agrees that the defendant has discussed this case

      and this Agreement in detail with the defendant's attorney, who

      has advised the defendant of the defendant s Constitutional and

      other trial and appellate rights, the nature of the charges, the

      elements of the offenses the United States would have to prove

      at trial, the evidence the United States would present at such

      trial, possible defenses, the advisory Sentencing Guiilelines and
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      other aspects of sentencing, potential losses of civil rights and

      privileges, and other potential consequences of pleadiag guilty

     in this case. The defendant agrees that the defendant is

      satisfied with the legal services and advice providei[ to the

     defendant by the defendant's attorney.

  34. DoaCline for Acceptance of Plea Aereement. The origiral of this

     Agreement must be signed by the defendant and defense

     counsel and received by the United States Attorney's Office on

     or before 6:00 p.m., September 8,2023, otherwise the offer may,

     in the sole discretion of the Government, be deemed withilrawn,

  35. Requi-red Sienatures. None of the terms of this Agreement shall

     be binding on the Office of the United States Attorney for the

     Middle District of Pennsylvania until signed by the defendant

     and defense counsel and then signed by the United States

     Attorney or his designee.




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                                                                                   I


      I have read this agreement and carefully reviewed every part of it
 with my attorney. I fully understand it and I voluntarily agree to it.


 8\ro\ze
 Date
                                           M
                                           MERCEDES SMITH
                                           Defendant


        I am the defendant's counsel. I have carefully reviewed every part
 of this agreement with tho ilefendant, To my knowledge, my client's
 decision to enter into this agreement is an informed and voluntary one.

      B\ry>\tz                              l*1 |l.u i/L ]fr.I I   il;A n-t-
 Date                                                                 , ESQIIIRE
                                           Counsel for Defendant




                                           GERARDM.KARAM
                                           United States Attorney

/.1
7                                    By:
 Date                                      MI          OLSHE
                                           Assistant United States Attorney

 AUSAI{1O/202Sn089 Aueust 26, 2023
 \IERSION DATE: March 8, 2021




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